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     Attorneys for Defendant Sylviane Whitmore
8

9
                                UNITED STATES DISTRICT COURT
10

11                                   DISTRICT OF NEVADA

12
     UNITED STATES OF AMERICA,                   Case No.: 2:17-cr-110 APG-DJA
13
                   Plaintiff,
14
                                                 STIPULATION TO EXTEND
15
     vs.                                         DEADLINES; PROPOSED ORDER
16   SYLVIANE WHITMORE,
17
     LARRY MCDANIEL,
18
                   Defendants.
19

20
            The parties, Sylviane Whitmore, by and through her counsel, Lisa A. Rasmussen,
21
     Larry McDaniel, by and through his counsel, Daniel Hill, and the United States, by and
22
     through its counsel, Assistant United States Attorney Richard Anthony Lopez, hereby
23
     stipulate as follows:
24
            1. Presently, the supplemental briefing on McDaniel and Whitmore’s Motions
25
               for New Trial are currently due today, March 10, 2022. ECF 265.
26
            2. Defense counsel need additional time to prepare the supplements because
27
               they have requested that two subpoenas be issued per a sealed Rule 17 filing.
28
     STIPULATION TO EXTEND DEADLINES; PROPOSED ORDER - 1
            Case 2:17-cr-00110-APG-DJA Document 271 Filed 03/14/22 Page 2 of 3



1
               ECF 263. The subpoenas were issued on March 8, 2022 and defense counsel
2
               received notice of that on March 9, 2022. ECF 268. The subpoenas have a
3
               return date of March 31, 2022.
4
            3. In consultation with the government, Defendants propose the following
5
               extensions of time:
6
                  a. Whitmore and McDaniel’s supplement’s due on April 15, 2022;
7
                  b. Government’s Response due on May 16, 2022;
8
                  c. Whitmore and McDaniel’s Replies due on May 31, 2022.
9

10
            4. The government agrees to these extended dates but does not waive any rights

11             to object to any procedural infirmities nor does this stipulation confer any

12             statutory extensions upon the defendants unless the court finds cause for the

13             same, which has yet to be determined.

14          5. The government’s forfeiture motion, ECF 232, would continue to be held in

15             abeyance and the sentencing hearings set for April 21, 2022 will later be
16             adjusted by separate stipulation.
17          6. Denial of this request would cause prejudice to the Defendants Whitmore and
18             McDaniel and this request for an extension of time is not made for the
19             purpose of delay.
20          Dated this 10th day of March 2022.
21
                  The Law Offices of Kristina Wildeveld & Associates,
22

23                                     /s/ Lisa A. Rasmussen
24                                     ___________________________
                                       LISA A. RASMUSSEN, ESQ.
25                                     Counsel for Sylviane Whitmore
26

27
     ....
28
     STIPULATION TO EXTEND DEADLINES; PROPOSED ORDER - 2
          Case 2:17-cr-00110-APG-DJA Document 271 Filed 03/14/22 Page 3 of 3



1                                     Hill Law Firm,
2
                                      /s/ Daniel Hill
3
                                      _____________________________
4                                     DANIEL HILL, ESQ.
                                      Counsel for Larry McDaniel
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6

7
                                      CHRISTOPHER CHIOU,
8                                     Acting United States Attorney
9                                     District of Nevada

10
                                      /s/ Richard Anthony Lopez
11                                    ________________________________
                                      BY: RICHARD ANTHONY LOPEZ
12
                                      Assistant United States Attorney
13

14

15                                          ORDER
16         Pursuant to the Stipulation of the parties, and good cause appearing,
17         IT IS HEREBY ORDERED that the briefing schedule set on October 5, 2021 is
18
     hereby extended as follows:
19
                  a. Whitmore and McDaniel’s supplement’s due on April 15, 2022;
20
                  b. Government’s Response due on May 16, 2022;
21
                  c. Whitmore and McDaniel’s Replies due on May 31, 2022.
22
                   March 14, 2022
           Dated: _____________
23

24
                                             ___________________________________
25                                           The Honorable Andrew P. Gordon
                                             United States District Judge
26

27

28
     STIPULATION TO EXTEND DEADLINES; PROPOSED ORDER - 3
